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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

v.                                   No. 4:10CR00228-03 JLH

RAY JOHNSON                                                                            DEFENDANT

                                              ORDER

       On September 12, 2011, the Court sentenced Ray Johnson to time served to be followed by

three years of supervised release with a special condition that Johnson spend the first six months of

supervised release in the City of Faith residential re-entry center. The Court remanded Johnson to

the custody of the United States Marshals Service until bed space would become available at the

facility. It has come to the Court’s attention that Johnson is still detained and has not been released

to the City of Faith, apparently because of outstanding warrants. The Court directs the Marshal to

release Johnson immediately and orders Johnson to report to the probation office upon release for

further instruction regarding disposing of the outstanding warrants. The special condition that

Johnson reside at the City of Faith for a period of six months is still imposed, but he will report to

the City of Faith when directed to do so by the probation office.

       IT IS SO ORDERED this 3rd day of November, 2011.




                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
